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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      STEPHANIE TAYLOR, et al.,
                                                             CASE NO. 2:19-cv-01869-RAJ-JRC
11                             Plaintiffs,
                                                             ORDER DENYING MOTION TO
12              v.                                           ADMIT EVIDENCE
13      ROSS MACDOUGALL, et al.,

14                             Defendants.

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16          Plaintiff, proceeding pro se, requests that the Court admit evidence. See Dkt. 83.

17   Plaintiff has filed approximately 150 pages of documents that she argues are admissible pursuant

18   to Federal Rule of Evidence 402 and in response to a motion to dismiss filed by certain

19   defendants. Dkt. 83, at 1; see also Dkt. 75.

20          Plaintiff previously requested to file this evidence, but the Court denied her motion

21   because her filing did not comply with the Court’s local rules regarding redaction of confidential

22   information. See Dkt. 72. Plaintiff states that she has now redacted the documents

23   appropriately. See Dkt. 83, at 2.

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 1          Nevertheless, the Court declines to admit the evidence at this time. Plaintiff offers the

 2   evidence in support of her response to a motion to dismiss. But a response to a motion to dismiss

 3   does not require evidentiary submissions and must instead address whether the allegations of the

 4   complaint, taken as true, state a cognizable claim for relief. See Van Buskirk v. Cable News

 5   Network, Inc., 284 F3d 977, 980 (9th Cir. 2002). Therefore, the evidence is not considered for

 6   the purpose of responding to this motion.

 7          The Court denies her motion without prejudice, meaning that plaintiff may request to

 8   have this evidence admitted at an appropriate later time. Plaintiff should be aware, however, that

 9   it is typically premature to submit evidence until she is either responding to a summary judgment

10   motion or the matter proceeds to trial. Federal Rule of Civil Procedure 56, for instance, governs

11   summary judgment motions and allows a party making arguments about the facts to cite to

12   “particular parts of materials in the record, including depositions, documents, electronically

13   stored information, affidavits or declarations, stipulations (including those made for purposes of

14   the motion only), admissions, interrogatory answers, or other materials.” Fed. R. Civ. P.

15   56(c)(1)(A).

16          For the reasons set forth above, the Court denies plaintiff’s motion to admit evidence

17   (Dkt. 83) without prejudice.

18          Dated 25th day of September, 2020.

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                                                          J. Richard Creatura
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                                                          United States Magistrate Judge
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     ORDER DENYING MOTION TO ADMIT EVIDENCE -
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